Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 1 of 16




                     EXHIBIT F
Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 2 of 16
                           A                           B                      C                        D
 1
 2
 3 Sum of Amount                               Column Labels
 4 Row Labels                                  2021                    2022                   Grand Total
 5 1P00 Default Med/BI/Comp                                                       2,950.11                2,950.11
 6 1P07 Medical, Not Otherwise Classified                                        45,251.73               45,251.73
 7 1P08 Hospital                                                                  1,128.27                1,128.27
 8 1P11 Pharmacy                                                                 53,175.03               53,175.03
 9 1P12 Physical Therapy                                                         24,089.66               24,089.66
10 1P13 Anesthesiology                                                            1,399.86                1,399.86
11 1P16 General Pract/Pmts to Physicians                                         20,579.11               20,579.11
12 1P17 Lab Tests                                                                 6,745.00                6,745.00
13 1P18 Durable Medical Costs                                                     2,805.00                2,805.00
14 1P19 Nursing Care/Home Health Assist                                         230,856.46              230,856.46
15 1P20 Medical Supplies                                                         11,046.25               11,046.25
16 2P00 Other Expenses                                                          614,890.53              614,890.53
17 2P01 Experts O/T Medical                                                     193,253.87              193,253.87
18 2P02 Private Investigator Expense                                                678.76                  678.76
19 2P20 Medical Evaluations                                                       4,345.00                4,345.00
20 2P21 Legal Fees and Exp - Def of Insured             126,136.15            3,428,901.20            3,555,037.35
21 2P25 Cov Determination and Other Expenses            157,480.20            1,574,690.56            1,732,170.76
22 2P26 Medical Bill Review and UR Expense                                       10,549.90               10,549.90
23 2P30 Court Costs                                                                 196.75                  196.75
24 3P00 Default Ind/Pd/Coll                                (407.86)             (56,526.85)             (56,934.71)
25 3P01 Full Settlement                                 100,000.00               12,235.64              112,235.64
26 3P08 Permanent Total Disability                         (447.96)              50,073.72               49,625.76
27 3P09 Permanent Partial Disability                                             55,945.74               55,945.74
28 3P11 Fatality                                                                 48,355.90               48,355.90
29 3P30 Indemity Payment                                105,599.04            2,814,354.79            2,919,953.83
30 3P34 PD Payment                                                                  607.14                  607.14
31 3P37 Claimant Indemnity Expert                                                 2,405.55                2,405.55
32 4P00 Default Recovery                                 (22,255.81)            (81,718.14)            (103,973.95)
33 4P03 Second Injury Fund Recovery                      (35,553.42)            (54,697.11)             (90,250.53)
34 4P04 Subrogation Recovery                              (4,540.84)               (407.92)              (4,948.76)
35 4P42 Recovery Payment                                                         (2,154.16)              (2,154.16)
36 6P05 Mediation                                                                 2,498.72                2,498.72
37 7P10 Sundry Second Injury Ind Payment                                        115,998.27              115,998.27
38 7P13 Sundry Second Injury Medical Payment                                     15,227.73               15,227.73
39 Reinsurance recoverable                                                     (261,574.58)            (261,574.58)
40 Grand Total                                          426,009.50            8,888,157.49            9,314,166.99
                                                                                                                          Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 3 of 16




AEIC Payment Update 9.30.2022 v2.XLSX                                              Pivot - Loss and LAE Payments      1
         A               B                 C            D          E                             F                       G                          H
 1    As of Date    Claim Number      Check Number   Record Id   Paid By                      Claimant                 Insured                     Coverage
 2    10/31/2021 0AA00005501              016953       507       SPARTA             FANTINI BAKING COMPANY   Fantini Baking Company       Auto Physical Damage - Commercial
 3    10/31/2021 0AA00005501              016953       507       SPARTA             FANTINI BAKING COMPANY   Fantini Baking Company       Auto Physical Damage - Commercial
 4    10/31/2021 0AA00005501              017710       504       SPARTA             FANTINI BAKING COMPANY   Fantini Baking Company       Auto Physical Damage - Commercial
 5    10/31/2021 0AA00005501              018508       505       SPARTA             FANTINI BAKING COMPANY   Fantini Baking Company       Auto Physical Damage - Commercial
 6    10/31/2021 0AA00005501              021346       508       SPARTA             FANTINI BAKING COMPANY   Fantini Baking Company       Auto Physical Damage - Commercial
 7    10/31/2021 0AA63402296            RES-20071      496       SPARTA             Various                  EAGLE ASBESTOS               General Liability
 8    10/31/2021 0AA63403796            RES-20071      497       SPARTA             Various                  EAGLE ASBESTOS               General Liability
 9    10/31/2021 0AA94355096           RES-320554      466       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 10   10/31/2021 0AA94355096           RES-333141      465       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 11   10/31/2021 0AA94355296           RES-320554      468       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 12   10/31/2021 0AA94355296           RES-333141      467       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 13   10/31/2021 0AA94355396           RES-320554      470       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 14   10/31/2021 0AA94355396           RES-333141      469       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 15   10/31/2021 0AA94355596           RES-320554      472       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 16   10/31/2021 0AA94355596           RES-333141      471       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 17   10/31/2021 0AA94356196              333141       473       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 18   10/31/2021 0AA94356196           RES-320554      474       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 19   10/31/2021 0AA94356596           RES-320554      476       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 20   10/31/2021 0AA94356596           RES-333141      475       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 21   10/31/2021 0AA94358196           RES-320554      478       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 22   10/31/2021 0AA94358196           RES-333141      477       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 23   10/31/2021 0AA94361296              333141       479       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 24   10/31/2021 0AA94361296           RES-320554      480       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 25   10/31/2021 0AA94362596              333141       481       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 26   10/31/2021 0AA94362596           RES-320554      482       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 27   10/31/2021 0AA94363296           RES-320554      484       SPARTA             Various Asbestos
                                                                                                         Redacted
                                                                                                             AMTROL INC.                  Products Liability
 28   10/31/2021 0AA94363296           RES-333141      483       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 29   10/31/2021 0AA94363696           RES-320554      486       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 30   10/31/2021 0AA94363696           RES-333141      485       SPARTA             Various Asbestos         AMTROL INC.                  Products Liability
 31   10/31/2021 0AA95923296       1075                487       SPARTA             Various                  FULTON BOILER WORKS Products Liability
 32   10/31/2021 0AA95923296       1075                499       SPARTA             Various                  FULTON BOILER WORKS Products Liability
 33   10/31/2021 0AA95923696       1075                488       SPARTA             Various                  FULTON BOILER WORKS Products Liability
 34   10/31/2021 0AA95923696       1075                500       SPARTA             Various                  FULTON BOILER WORKS Products Liability
 35   10/31/2021 0AA95923896       1075                489       SPARTA             Various                  FULTON BOILER WORKS Products Liability
 36   10/31/2021 0AA95923896       1075                501       SPARTA             Various                  FULTON BOILER WORKS Products Liability
 37   10/31/2021 0AA99646896             RES-155       498       SPARTA             Various                  Augenstein Construction Co., General
                                                                                                                                          Inc. and Liability
                                                                                                                                                   Buyers Enterprises, Inc.
 38   10/31/2021 0AB03800701            RES-29225      490       SPARTA             Various                  KNIGHTS OF COLUMBUS General Liability
 39   10/31/2021 0AB03800801            RES-29225      491       SPARTA             Various                  KNIGHTS OF COLUMBUS General Liability
 40   10/31/2021 0AB03800901            RES-29225      492       SPARTA             Various                  KNIGHTS OF COLUMBUS General Liability
 41   10/31/2021 0AB03801001            RES-29225      493       SPARTA             Various                  KNIGHTS OF COLUMBUS General Liability
 42   10/31/2021 0AB03801101              29225        494       SPARTA             Various                  KNIGHTS OF COLUMBUS General Liability
 43   10/31/2021 0AB03801401            RES-29225      495       SPARTA             Various                  KNIGHTS OF COLUMBUS General Liability
 44   10/31/2021 0B610980P01            0100308512     510       SPARTA             PROSE MANAGEMENT, INC    Prose Management, Inc        Fidelity
 45   10/31/2021 0P220638401            002729206      502       SPARTA             RYER, TINA               Alice Barshinger             Auto Liability - Commercial
 46   10/31/2021 0P220638401            003103601      503       SPARTA             RYER, TINA               Alice Barshinger             Auto Liability - Commercial
 47   11/30/2021 0AA00005501              021791       506       SPARTA             FANTINI BAKING COMPANY   Fantini Baking Company       Auto Physical Damage - Commercial
 48   11/30/2021 0B610980P01            0100322429     509       SPARTA             PROSE MANAGEMENT, INC    Prose Management, Inc        Fidelity
                                                                                                                                                                                  Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 4 of 16




 49   11/30/2021 0P220638401            003155618      464       SPARTA             RYER, TINA               Alice Barshinger             Auto Liability - Commercial
 50   12/31/2021 0AA00005501              022330       784       SPARTA             FANTINI BAKING COMPANY   Fantini Baking Company       Auto Physical Damage - Commercial
 51   12/31/2021 0AA94076796                           513       SPARTA             Various Asbestos         CORBESCO INC.                General Liability
 52   12/31/2021 0AA94080196                           514       SPARTA             Various Asbestos         CORBESCO INC.                General Liability




AEIC Payment Update 9.30.2022 v2.XLSX                                      TPA Payment Register detail                                                                        2
                        I                                       J                                 K                          L                M            N             O            P
 1                    Payee                                Tran Type                            Amount                Check Posted Date   Tran Date    Entry Date   Approval Date   Status
 2    DEFAULT                             4P04 Subrogation Recovery                                       -4,225.97                        3/3/2021    10/21/2021    10/21/2021       R
 3    DEFAULT                             4P04 Subrogation Recovery                                          -13.33                        3/3/2021    10/21/2021    10/21/2021       R
 4    DEFAULT                             4P04 Subrogation Recovery                                          -13.33                       3/12/2021    10/22/2021    10/22/2021       R
 5    DEFAULT                             4P04 Subrogation Recovery                                          -26.67                       4/21/2021    10/22/2021    10/22/2021       R
 6    DEFAULT                             4P04 Subrogation Recovery                                          -13.34                       10/5/2021     10/5/2021     10/5/2021       R
 7                                        2P21 Legal Fees and Exp - Def of Insured                           -37.05                        3/3/2021    10/22/2021    10/22/2021       O
 8                                        2P21 Legal Fees and Exp - Def of Insured                           -37.05                        3/3/2021    10/22/2021    10/22/2021       O
 9    FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                            -4.55                       3/12/2021    10/22/2021    10/22/2021       O
 10   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                           -76.70                        3/3/2021    10/22/2021    10/22/2021       O
 11   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                            -4.55                       3/12/2021    10/22/2021    10/22/2021       O
 12   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                           -76.70                        3/3/2021    10/22/2021    10/22/2021       O
 13   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                            -4.55                       3/12/2021    10/22/2021    10/22/2021       O
 14   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                           -76.70                        3/3/2021    10/22/2021    10/22/2021       O
 15   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                            -4.55                       3/12/2021    10/22/2021    10/22/2021       O
 16   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                           -76.70                        3/3/2021    10/22/2021    10/22/2021       O
 17   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                           -76.70                        3/3/2021    10/22/2021    10/22/2021       O
 18   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                            -4.55                       3/12/2021    10/22/2021    10/22/2021       O
 19   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                            -4.55                       3/12/2021    10/22/2021    10/22/2021       O
 20   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                           -76.70                        3/3/2021    10/22/2021    10/22/2021       O
 21   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                            -4.55                       3/12/2021    10/22/2021    10/22/2021       O
 22   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                           -76.70                        3/3/2021    10/22/2021    10/22/2021       O
 23   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                           -76.70                        3/3/2021    10/22/2021    10/22/2021       O
 24   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                            -4.55                       3/12/2021    10/22/2021    10/22/2021       O
 25   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                           -76.70                        3/3/2021    10/22/2021    10/22/2021       O
 26   FOLEY & MANSFIELD, PLLP
                  Redacted                2P21 Legal Fees and Exp - Def of Insured                            -4.55                       3/12/2021    10/22/2021    10/22/2021       O
 27   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                            -4.55                       3/12/2021    10/22/2021    10/22/2021       O
 28   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                           -76.70                        3/3/2021    10/22/2021    10/22/2021       O
 29   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                            -4.50                       3/12/2021    10/22/2021    10/22/2021       O
 30   FOLEY & MANSFIELD, PLLP             2P21 Legal Fees and Exp - Def of Insured                           -76.69                        3/3/2021    10/22/2021    10/22/2021       O
 31                                       3P30 Indemity Payment                                           -1,754.34                       10/19/2021   10/19/2021    10/19/2021       O
 32   DEFAULT                             4P00 Default Recovery                                           -1,754.34                       10/19/2021   10/19/2021    10/19/2021       O
 33                                       3P30 Indemity Payment                                           -1,754.34                       10/19/2021   10/19/2021    10/19/2021       O
 34   DEFAULT                             4P00 Default Recovery                                           -1,754.34                       10/19/2021   10/19/2021    10/19/2021       O
 35                                       3P30 Indemity Payment                                           -1,754.33                       10/19/2021   10/19/2021    10/19/2021       O
 36   DEFAULT                             4P00 Default Recovery                                           -1,754.33                       10/19/2021   10/19/2021    10/19/2021       O
 37   Taylor Wellons Politz & Duhe APLC   2P21 Legal Fees and Exp - Def of Insured                           -43.71                       11/5/2021     11/5/2021     11/5/2021       R
 38   SCAHILL LAW GROUP P.C.              2P21 Legal Fees and Exp - Def of Insured                           -34.76                       1/23/2021    10/22/2021    10/22/2021       R
 39   SCAHILL LAW GROUP P.C.              2P21 Legal Fees and Exp - Def of Insured                           -34.76                       1/23/2021    10/22/2021    10/22/2021       R
 40   SCAHILL LAW GROUP P.C.              2P21 Legal Fees and Exp - Def of Insured                           -34.76                       1/23/2021    10/22/2021    10/22/2021       R
 41   SCAHILL LAW GROUP P.C.              2P21 Legal Fees and Exp - Def of Insured                           -34.76                       1/23/2021    10/22/2021    10/22/2021       R
 42   SCAHILL LAW GROUP P.C.              2P21 Legal Fees and Exp - Def of Insured                           -34.76                       1/23/2021    10/22/2021    10/22/2021       R
 43   SCAHILL LAW GROUP P.C.              2P21 Legal Fees and Exp - Def of Insured                           -34.81                       1/23/2021    10/22/2021    10/22/2021       R
 44   DEFAULT                             4P04 Subrogation Recovery                                          -88.62                        3/3/2021    10/21/2021    10/21/2021       R
 45   DEFAULT                             4P00 Default Recovery                                           -5,553.20                       3/12/2021    10/21/2021    11/15/2021       O
 46   DEFAULT                             4P00 Default Recovery                                           -5,719.80                       10/4/2021     10/4/2021    11/15/2021       O
 47   DEFAULT                             4P04 Subrogation Recovery                                          -13.33                       11/2/2021     11/2/2021     11/2/2021       R
 48   DEFAULT                             4P04 Subrogation Recovery                                         -132.92                       11/23/2021   11/23/2021    11/23/2021       R
                                                                                                                                                                                                 Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 5 of 16




 49   DEFAULT                             4P00 Default Recovery                                           -5,719.80                       11/11/2021   11/11/2021    11/15/2021       O
 50   DEFAULT                             4P04 Subrogation Recovery                                          -13.33                       12/9/2021     12/9/2021     12/9/2021       R
 51   LITCHFIELD CAVO LLP TRUST ACCOUNT   3P30 Indemity Payment                                            3,181.81                       12/16/2021   12/16/2021    12/17/2021       O
 52   LITCHFIELD CAVO LLP TRUST ACCOUNT   3P30 Indemity Payment                                            3,181.81                       12/16/2021   12/16/2021    12/17/2021       O




AEIC Payment Update 9.30.2022 v2.XLSX                                                TPA Payment Register detail                                                                             3
              Q                 R                 S             T            U
 1       Payment Type       Adjuster Name      UW Co Loaded in SQL Date
 2    Log Payment       MATUS, GABRIELLE    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 3    Log Payment       MATUS, GABRIELLE    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 4    Log Payment       MATUS, GABRIELLE    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 5    Log Payment       MATUS, GABRIELLE    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 6    Log Payment       MATUS, GABRIELLE    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 7    Log Payment       Stavely, Alan       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 8    Log Payment       Stavely, Alan       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 9    Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 10   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 11   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 12   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 13   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 14   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 15   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 16   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 17   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 18   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 19   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 20   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 21   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 22   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 23   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 24   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 25   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 26   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 27   Log Payment       CLINTON, CATE
                           Redacted         American Employers'
                                                            3/12/2022
                                                                Insurance Company
 28   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 29   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 30   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 31   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 32   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 33   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 34   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 35   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 36   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 37   Log Payment       Stavely, Alan       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 38   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 39   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 40   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 41   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 42   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 43   Log Payment       TAYLOR, KIMBERLY    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 44   Log Payment       MATUS, GABRIELLE    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 45   Log Payment       Richards, Jodi      American Employers'
                                                            3/12/2022
                                                                Insurance Company
 46   Log Payment       Richards, Jodi      American Employers'
                                                            3/12/2022
                                                                Insurance Company
 47   Log Payment       MATUS, GABRIELLE    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 48   Log Payment       MATUS, GABRIELLE    American Employers'
                                                            3/12/2022
                                                                Insurance Company
                                                                                                                      Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 6 of 16




 49   Log Payment       Richards, Jodi      American Employers'
                                                            3/12/2022
                                                                Insurance Company
 50   Log Payment       MATUS, GABRIELLE    American Employers'
                                                            3/12/2022
                                                                Insurance Company
 51   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company
 52   Log Payment       CLINTON, CATE       American Employers'
                                                            3/12/2022
                                                                Insurance Company




AEIC Payment Update 9.30.2022 v2.XLSX                                               TPA Payment Register detail   4
Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 7 of 16




              Pages 5-245 Omitted




                               3
Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 8 of 16
Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 9 of 16
Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 10 of 16
Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 11 of 16
Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 12 of 16
Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 13 of 16
Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 14 of 16
Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 15 of 16
Case 1:21-cv-11205-FDS Document 90-6 Filed 02/28/23 Page 16 of 16
